WILLIAM R. KENAN, JR., AND LAWRENCE C. HAINES, TRUSTEES, U/W MARY LILY (FLAGLER) BINGHAM, PETITIONERS, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Kenan v. CommissionerDocket Nos. 61166, 66540.United States Board of Tax Appeals28 B.T.A. 733; 1933 BTA LEXIS 1077; July 25, 1933, Promulgated *1077  The distributions in controversy were pursuant to a "bequest" within the meaning of subsection (b)(3) of section 213 of the Revenue Act of 1926 and subsection (b)(3) of section 22 of the Revenue Act of 1928, hence exempt from taxation and may not be deducted by the petitioners in determining the taxable net income of the trust.  A. Roberts MacMannis, C.P.A., for the petitioners.  William E. Davis, Esq., and Paul E. Waring, Esq., for the respondent.  MORRIS*733  These proceedings, consolidated for hearing and decision, are for the redetermination of deficiencies in income tax of $36,024.62, $41,716.66, $41,955.80 and $42,522.10 for the calendar years 1927, 1928, 1929 and 1930, respectively.  The respondent is alleged to have erred (1) in holding that the annual payment of $200,000 to Louise Wise (Lewis) Francis is a "bequest" within the meaning of section 213(b)(3) of the Revenue Act of 1926 and section 22(b)(3) of the Revenue Act of 1928 and not deductible in determining net income for the calendar years in controversy; (2) including in net income for the year 1927 the amount of $1,292.07, representing alleged additional profit on the sale*1078  of 962 shares of stock of Vacuum Oil Co.; (3) including in net income for the year 1927 the amount of $4,267.90, representing alleged additional profit on the sale of 50 shares of stock of Solar Refining Co.; (4) overstating net income for the year 1927 by $50,000, representing total loss on investment of 500 shares of stock of Miami Giro Corporation, which loss was not originally claimed by the petitioner nor allowed by the respondent; and (5) limiting the petitioners' deduction of ordinary and necessary expenses for the year 1930 to $141,805.29.  *734  The proceedings were submitted upon the pleadings and a stipulation of facts entered into between the parties, from which we make the following findings of fact: FINDINGS OF FACT.  On or about the twenty-seventh day of July 1917 Mary Lily (Flagler) Bingham died in the county of Jefferson and State of Kentucky, leaving a last will and testament and codicils thereto, wherein and whereby William R. Kenan, Jr., one of the petitioners herein, and William A. Blount, a resident of the State of Florida, were appointed executors and trustees.  On or about the third day of August, 1917, the will was duly admitted to probate by*1079  the county judge of the county of Palm Beach in the State of Florida, in which county and State the decedent had resided for some years prior to her death, and letters testamentary upon the will and codicils were thereafter duly issued and granted by the county judge to William R. Kenan, Jr., and William A. Blount, as executors and trustees, and William R. Kenan, Jr., and William A. Blount thereupon duly qualified as such executors and trustees.  The decedent, by item twelfth of her will, provided that each trustee should, by virtue of his office, be also executor of her will and that every substituted trustee and executor should have all the title and exercise all the duties given to or imposed upon each of the trustees and executors named in the will.  On or about June 15, 1921, William A. Blount, one of the executors and trustees, died and thereafter on or about August 3, 1924, and in the manner in the decedent's will provided for, Lawrence C. Haines, one of the petitioners herein, was duly appointed and qualified as trustee in the place and stead of William A. Blount, deceased, and said William R. Kenan, Jr., and Lawrence C. Haines have ever since been and are now acting as*1080  such executors and trustees.  trustees.  Within the time required by section 227(a) of the Revenue Act of 1926, William R. Kenan, Jr., and Lawrence C. Haines, as trustees under the will of Mary Lily (Flagler) Bingham, did on or about March 14, 1928, and on Form 1040 and on or about March 13, 1928, and on Form 1041, file with the collector of internal revenue for the second district of New York, individual and fiduciary income tax returns for the trust estate for the calendar year 1927.  Within the time required by section 53 of the Revenue Act of 1928, William R. Kenan, Jr., and Lawrence C. Haines, as trustees under the will of Mary Lily (Flagler) Bingham, did, on the respective dates stated below in this paragraph, and on Form 1040 and Form *735  1041, file with the collector of internal revenue for the second district of New York, individual and fiduciary income tax returns for the trust estate for the calendar years 1928, 1929 and 1930, on or about March 13, 1929, March 15, 1930 and March 15, 1931, respectively.  On the basis of these returns, the respondent thereafter made assessments of income taxes imposed by sections 210 and 211 of the Revenue Act of 1926, and sections*1081  11 and 12 of the Revenue Act of 1928, of $204,050.67, $152,754.27, $134,583.91 and $106,588.49 for the years 1927, 1928, 1929 and 1930, respectively.  The taxes were paid in equal quarterly payments, annually, pursuant to the provisions of section 270(b)(1) of the Revenue Act of 1926 and section 56(b) of the Revenue Act of 1928.  By registered letter dated November 24, 1931, the respondent notified the petitioners of a deficiency in income tax for the calendar years 1927, 1928 and 1929, in the amount of $119,697.08, apportioned, $36,024.62 for 1927, $41,716.66 for 1928 and $41,955.80 for 1929.  By registered letter dated May 25, 1932, the respondent notified the petitioners of a deficiency in income tax for the calendar year 1930 in the amount of $42,522.10.  The petitioners, trustees under the will of Mary Lily (Flagler) Bingham, reported on their original Federal income tax returns, referred to above, net taxable incomes (inclusive of capital net gain) for the years here in issue in the following amounts: $114,159.37 for 1927, $804,952.41 for 1928, $718,443.10 for 1929 and $579,224.09 for 1930.  The respondent computed net taxable incomes for the calendar years 1927, 1928, *1082  1929 and 1930 (inclusive of capital net gain) in amounts as follows: $1,295,172.94 for 1927, $1,003,252.41 for 1928, $918,243.10 for 1929 and $776,926.49 for 1930.  The books and accounts of the petitioners were at all times kept upon the basis of cash receipts and disbursements, and the Federal income tax returns for the calendar years 1927, 1928, 1929 and 1930 (as well as for all years prior and subsequent thereto) have been rendered upon the same basis as that upon which the books were kept.  The respondent has denied as a deduction when computing the net taxable incomes of these petitioners, as stipulated above, $198,640 for the calendar year 1927; $198,300 for the calendar year 1928; $196,420 for the calendar year 1929; and $190,980 for the calendar year 1930, being the distribution (exclusive of income from nontaxables) made under the provisions of item seventh of the last will and testament of Mary Lily (Flagler) Bingham, which distributions respondent has deemed to be "bequests" within the meaning of section 213(b)(3) of the Revenue Act of 1926 and section 22(b)(3) of the Revenue Act of 1928.  *736  Item seventh of the last will and testament of Mary Lily (Flagler) *1083  Bingham reads in part as follows: That my said Trustees shall pay to my niece, LOUISE CLISBY WISE, the sum of Two Hundred Thousand ($200,000.00) Dollars annually until she shall have arrived at the age of forty (40) years, at which time or as soon thereafter as compatible with the interests of my estate they shall pay her the sum of Five Million ($5,000,000.00) Dollars.  * * * The net value of the estate for Federal estate tax purpose was fixed by the respondent at $58,567,315.47.  The respondent in computing the net taxable income of $1,295,172.94 for the calendar year 1927, included in the item of capital net gain, forming part of the petitioners' net income, the amount of $5,559.97, representing additional profit of $4,267.90 from sale of 50 shares of Solar Refining Co. stock, and additional profit of $1,292.07 on sale of 962 shares of Vacuum Oil Co. stock.  The respondent concedes that said $5,559.97 was improperly added to the petitioners' taxable net income for the calendar year 1927.  It is agreed that the petitioners are entitled to a deduction of $50,000 for the calendar year 1927, representing the cost of 500 shares of stock of the Miami Giro Corporation actually*1084  ascertained to be worthless in the calendar year 1927.  The petitioners failed to avail themselves of this deduction in computing the net taxable income set forth above and the respondent has not allowed the $50,000 loss as a deduction in computing net taxable income set forth above.  It is agreed, therefore, that this deduction be allowed in recomputing net income for the calendar year 1927.  The respondent in computing net taxable income of $776,926.49 for the calendar year 1930, as specified above, has not allowed the full amount of ordinary and necessary expenses, having allowed only $141,805.29, whereas the books and accounts show $148,527.69 actually expended during the taxable period ended December 31, 1930.  The respondent concedes that said $148,527.69 is properly deductible in computing taxable net income for 1930.  OPINION.  MORRIS: Since the allegations of error numbered 2 to 5, inclusive, hereinbefore set forth, have been settled by the stipulation entered into between the parties, to which effect shall be given in the determination hereunder, our sole question pertains to the deductibility of the annual payments or distributions to Louise Wise (Lewis) Francis, under*1085  item seventh of the Bingham will, in the determination of the net taxable income of the petitioners.  While the taxable years 1927 to 1930, both inclusive, are in dispute, and while the 1926 as well as the 1928 Revenue Act are both *737  to be considered, the similarity of the controlling provisions obviates specific reference to both and, therefore, we set forth only the governing provisions of the latter act which have been relied upon by the parties.  Section 22(b)(3) of the 1928 Act: (b) Exclusions from gross income. - The following items shall not be included in gross income and shall be exempt from taxation under this title: * * * (3) GIFTS, BEQUESTS, AND DEVISES. - The value of property acquired by gift, bequest, devise, or inheritance (but the income from such property shall be included in gross income).  Section 23(b) of the 1928 Act: In computing net income there shall be allowed as deductions: * * * (b) Interest. - All interest paid or accrued within the taxable year on indebtedness, except on indebtedness incurred or continued to purchase or carry obligations or securities (other than obligations of the United States issued after September 24, 1917, and*1086  originally subscribed for by the taxpayer) the interest upon which is wholly exempt from taxation under this title.  Section 161(a)(2) of the 1928 Act: (a) Application of tax. - The taxes imposed by this title upon individuals shall apply to the income of estates or of any kind of property held in trust, including - * * * (2) Income which is to be distributed currently by the fiduciary to the beneficiaries, and income collected by a guardian of an infant which is to be held or distributed as the court may direct.  Section 162(b) of the 1928 Act: The net income of the estate or trust shall be computed in the same manner and on the same basis as in the case of an individual, except that - * * * (b) There shall be allowed as an additional deduction in computing the net income of the estate or trust the amount of the income of the estate or trust for its taxable year which is to be distributed currently by the fiduciary to the beneficiaries, and the amount of the income collected by a guardian of an infant which is to be held or distributed as the court may direct, but the amount so allowed as a deduction shall be included in computing the net income of the beneficiaries*1087  whether distributed to them or not.  Any amount allowed as a deduction under this paragraph shall not be allowed as a deduction under subsection (c) of this section in the same or any succeeding taxable year.  The position of the respondent is that the amounts in question constitute "bequests" within the meaning of section 22 of the Revenue Act of 1928, "exempt from taxation", not taxable income, and consequently may not be deducted by the trustees in computing the net taxable income of the trust, relying upon . The petitioners contend in effect, that the terms of *738  item seventh, considering all of the other provisions of the will in connection therewith in arriving at the intention of the testator, established a trust fund of $5,000,000 for the benefit of Louise Clisby Wise, payable at or after attaining the age of forty, and that the $200,000 legacy provided by the same item of the will, payable annually to her, represented either income of a testamentary trust, distributable under section 162 of the act aforesaid, or "interest" payments under section 23 of said act, and therefore is deductible in the determination*1088  of the net taxable income of the estate in either event.  It should be stated, before proceeding to the merits of the question, that where the language of a will is perfectly clear and unmistakable in its terms, judicial construction may not be resorted to.  Our attention has been directed to no single instance of ambiguity, nor do we find any ourselves; consequently, it is our plain duty to give to the words used by the testator their natural and usual meaning, at the same time realizing and fully appreciating the importance of considering the will in its entirety in order to arrive at the true intention of the testator.  See Schouler on Wills, Executors, and Administrators, vol. 2.  Let us examine the will from "all four corners", as the petitioner urges, and see just what effect, if any, the other provisions thereof may have upon item seventh.  Items first and second deal with the payment of funeral expenses and expenses of administration and with the appointment of executors and trustees.  Items third and fourth dispose of the testator's realty and jewelry.  Item fifth leaves all the residue of the testator's property to trustees, in trust, with directions to satisfy certain*1089  specific bequests mentioned therein - item sixth providing that such legacies be paid "as soon as in their judgment is compatible with the due administration of my estate and with the carrying out of my wishes with reference to the Florida East Coast Railway Company and the Florida East Coast Hotel properties hereinafter mentioned." Item seventh, which is the item in question here, the pertinent portion of which has been set forth in our findings of fact, directs the payment to the testator's niece, Louise Clisby Wise, of the sum of $200,000, annually, until she shall have reached the age of forty, "at which time or as soon thereafter as compatible with the interests of my estate, they shall pay to her the sum of five million ($5,000,000) dollars." Item eighth directs the annual payment of a legacy to the University of North Carolina for certain specified purposes.  After providing for the foregoing, the testator, in item ninth, directs that "all the rest and residue of my estate including all lapsed bequests or devises, shall be held for the term of twenty-one years from the date of this will by my said *739  trustees in trust for the maintenance and administration and development*1090  of the Florida East Coast Railway and the Florida East Coast Hotel properties (which are hereinafter called 'principal properties') and the properties held by subsidiary companies.  And to that end, my said trustees shall have power to sell any of my said residue estate, except the stocks and bonds of said 'principal properties', to invest the proceeds of such sales and the income and increments of all my said residue estate in such securities or other properties as they may think best; to use any of the said proceeds or said income or increments for the benefit of any of said principal or subsidiary properties." Item tenth provides for the division of the properties just mentioned after such term.  The remaining items of the will, numbered eleventh, twelfth, thirteenth and fourteenth, can have no possible effect upon the question at issue and need be given no further consideration.  Having thus reviewed and carefully studied all the provisions of the testator's will, we are convinced that the solution of our problem lies exclusively in item seventh and that it is independent of all of the other provisions of the will and they independent of it, certainly so far as the $200,000 legacy*1091  is concerned.  As we view the situation the question here must be tested by the principles laid down in , and the result reached must depend upon whether the facts shown come within , as the respondent contends, or within , affirmed by the Supreme Court in , as the petitioner contends.  In , the court, after referring to item fifth of the will under consideration, providing for an annual annuity to each of the stated beneficiaries, remarked that had the will "stopped there" the legacy would no doubt have been a "bequest" under the act and not taxable income.  It then referred to the following item of the will, item sixth, which provided: Sixth: I direct my executor and trustee either to set apart, hold in trust, invest and keep invested, in separate funds, one for each annuitant, sufficient sums to produce by the clear net interest and income thereof respectively, the several annuities provided in the Fifth Article of this will, * * * and to pay the*1092  said several annuities from the interest and income of the respective funds in semi-annual payments, or to purchase such annuities in Life Insurance companies * * *.  Similarly, if item seventh of the will here in question had not "stopped" where it did, but had contained provisions like or similar to those just quoted, the $200,000 annual payment would doubtless be classified as taxable income as distinguished from a bequest.  Of course the petitioner would have us hold that the $5,000,000 fund was created and intended to yield the amount of annual distribution of *740  $200,000, but about that the will is totally silent and we are unable after a thorough study of its terms to reach such a conclusion.  The two bequests, while contained in the same clause, in fact, in the same sentence, are entirely independent of each other, one to be paid annually for a specified period and the other to be paid in a lump sum at or after such period.  The court there held that the income in question was "produced from a capital sum created specifically to produce it" and was taxable income within the meaning of the act.  For the reason stated we are of the opinion that*1093  the instant case is clearly distinguishable upon its facts from that, and that it can not be followed.  In , the case relied upon by the respondent, we find a totally different situation.  There, it appears, no fund was set aside or created to produce the amount of income in question and, as the court said, the legacy "was not one to be paid from income but of a sum certain, payable at all events during each year so long as she should live." As we read item seventh of the will in question, the $200,000 legacy was "payable at all events" until the beneficiary arrived at the age of forty.  In holding the result reached by , inapplicable, the court, in , said: "The bequest to Gavit was to be paid out of income from a definite fund.  If that yielded nothing, he got nothing.  This court concluded that the gift was of money to be derived from income and to be paid and received as income by the donee.  Here the gift did not depend upon income but was a charge upon the whole estate during the life of the legatee to be satisfied like any ordinary bequest. *1094  " Such is the situation here.  The bequest to Louise Clisby Wise was unconditional and was a charge upon the "whole estate." And whether it became necessary to discharge the bequest by the payment thereof out of income of the estate, if such should have become necessary, does not change its legal status as a "bequest." The controlling principle is dictated by the will itself and it directed payment without reference to the existence or absence of income; therefore, as was said in , "It would be an anomaly to tax the receipt for one year and exempt them for another simply because executors paid the first from income received and the second out of the corpus." Nor, for the reasons stated, are we impressed with the argument of counsel that simply because $200,000 happens to amount to 4 percent upon $5,000,000 the annual distributions were in the nature of interest payments and therefore deductible.  We find no justification for any such speculative conclusions.  We are of the opinion, therefore, that the distributions in question, being a bequest, do not constitute "income" to the beneficiary within *741  the meaning of sections*1095  161(a)(2) and 162(b), nor "interest" under section 23(b) of the Revenue Act of 1928, and that these payments are not deductible by the trust.  . Judgment will be entered under Rule 50.